 8:08-cr-00321-LSC-TDT            Doc # 34   Filed: 10/15/08   Page 1 of 1 - Page ID # 46




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR321
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
BRYAN McCROY,                                     )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion regarding counsel by Michael D. Gooch
representing defendant Bryan McCroy (McCroy) (Filing No. 28). The court held a hearing
on the motion on October 14, 2008. The court made an in camera inquiry of McCroy and
Mr. Gooch and finds Mr. Gooch shall remain as counsel for McCroy. The clerk shall term
Filing No. 28 on the docket.
       Mr. Gooch requested additional time in which to file pretrial motions. McCroy
concurred in the request and stated he understood the additional time would be excluded
from Speedy Trial Act computations. Accordingly, McCroy is given until October 30, 2008,
in which to file pretrial motions according to the progression order. The additional time
arising as a result of the granting of the request, i.e., the time between October 14, 2008
and October 30, 2008, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason that counsel require additional time
to adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       IT IS SO ORDERED.
       DATED this 15th day of October, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
